           Case 2:19-cv-01545-RSM Document 42 Filed 06/22/20 Page 1 of 5



 1                                       THE HONORABLE RICARDO S. MARTINEZ

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 6                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WASHINGTON
 7                                 AT SEATTLE

 8   XINLU FAN, LIANG’E FAN,
     SHAOCHUN FU, JIANHUA GU,               NO. 2:19-cv-01545-RSM
 9   FENYING LI, MINGXIA LI, YONGNIAN
     SHI, CHENLIN WANG, SHUWEN WU,          STIPULATION AND ORDER
10
     HAIJUN ZHOU, and XIAOFANG ZHOU,        REGARDING CLASS
11                                          CERTIFICATION DEADLINES
                       Plaintiffs,
12
     v.
13
     U.S. BANK NATIONAL ASSOCIATION;
14   QUARTZBURG GOLD, LP; ISR
     CAPITAL, LLC; IDAHO STATE
15   REGIONAL CENTER, LLC; and SIMA
16   MUROFF,

17                     Defendants.

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     U.S. BANK NATIONAL ASSOCIATION,
19
                       Crossclaimant,
20
     v.
21
     QUARTZBURG GOLD, LP; and IDAHO
22   STATE REGIONAL CENTER, LLC,
23                     Crossclaim
                       Defendants.
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     STIPULATION AND ORDER RE:                      DORSEY & WHITNEY LLP
                                                      701 FIFTH AVENUE, SUITE 6100
     CLASS CERTIFICATION DEADLINES                      SEATTLE, WA 98104-7043
     2:19-cv-01545-RSM                                    PHONE: (206) 903-8800
                                                          FAX: (206) 903-8820
              Case 2:19-cv-01545-RSM Document 42 Filed 06/22/20 Page 2 of 5



 1          Plaintiffs and Defendants identified below, who are all parties who have appeared in this

 2 action, by and through their undersigned counsel, hereby stipulate and agree that the deadline for

 3 the Motion to Certify Class, currently scheduled for June 26, 2020 (Dkt. #30), should be continued

 4 until July 17, 2020, the deadline for any Opposition to Motion to Certify Class, currently scheduled

 5 for July 24, 2020 (Dkt. #30), should be continued until August 14, 2020, and the deadline for any

 6 Reply in Support of Motion to Certify Class, currently scheduled for August 21, 2020 (Dkt. #30),

 7 should be continued until September 11, 2020.

 8          Defendant U.S. Bank National Association has noticed the deposition of the putative class

 9 representative and has agreed to take the deposition remotely, over videoconference. However,

10 Plaintiffs’ counsel has represented that the putative class representative cannot be deposed in

11 China, even remotely, because depositions in China are illegal, and has further represented that the

12 putative class representative is currently prohibited from traveling to another location for the

13 deposition at this time due to travel and other restrictions resulting from the global COVID-19

14 pandemic. The parties agree that there is good cause for this request because U.S. Bank believes

15 it is entitled to take the deposition of the putative class representative before class certification is

16 briefed but the putative class representative remains unavailable to be deposed at this time. This

17 Stipulation is without waiver of any party’s right to seek further extensions or other relief. For

18 these reasons, the parties hereto stipulate and agree to, and respectfully and jointly request entry

19 of, the Order set forth below.

20          Respectfully submitted this 22nd day of June, 2020.

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     STIPULATION AND ORDER RE:                                        DORSEY & WHITNEY LLP
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            Case 2:19-cv-01545-RSM Document 42 Filed 06/22/20 Page 3 of 5



 1
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     Jeremy Larson, WSBA #22125                    Daniel P. Harris, WSBA #16778
 3   Shawn Larsen-Bright, WSBA #37066              Jihee Ahn, WSBA #16778
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     /s/ Sean Prosser
12   Sean T. Prosser, admitted pro hac vice
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21   LP, ISR Capital LLC and Idaho State
     Regional Center, LLC
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     STIPULATION AND ORDER RE:                                  DORSEY & WHITNEY LLP
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             Case 2:19-cv-01545-RSM Document 42 Filed 06/22/20 Page 4 of 5



 1                                             ORDER

 2         Based upon the foregoing Stipulation, and for good cause shown, it is hereby ORDERED

 3 that the deadline for any Motion to Certify Class is hereby continued to July 17, 2020, that the

 4 deadline for any Opposition to Motion to Certify Class is hereby continued to August 14, 2020,

 5 and that the deadline for any Reply in Support of Motion to Certify Class is hereby continued to

 6 September 11, 2020.

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 8         IT IS SO ORDERED this 22nd day of June, 2020.

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11                                             A
                                               RICARDO S. MARTINEZ
12                                             CHIEF UNITED STATES DISTRICT JUDGE
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     STIPULATION AND ORDER RE:                                   DORSEY & WHITNEY LLP
                                                                   701 FIFTH AVENUE, SUITE 6100
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                                                                       FAX: (206) 903-8820
              Case 2:19-cv-01545-RSM Document 42 Filed 06/22/20 Page 5 of 5



 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on this date I caused to be served the foregoing on the following

 3 counsel of record by the method indicated:

 4    John F. Rapp, WSBA #17286                           Via Messenger
      Daniel P. Harris, WSBA #16778                       Via Facsimile
 5    Jihee Ahn, WSBA #16778                              Via U.S. Mail
 6    John McDonald admitted pro hac vice                 Via Electronic Mail (per agreement)
      Harris Bricken                                      Via ECF Notification
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 8    Tel: 206-224-5657
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12    Attorneys for Plaintiffs Xinlu Fan, et al
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14    Roger D. Mellem, WSBA #14917                        Via Messenger
      Adam Doupe, WSBA #55483                             Via Facsimile
15    Ryan, Swanson & Cleveland, PLLC                     Via U.S. Mail
      1201 Third Avenue, Suite 3400                       Via Electronic Mail (per agreement)
16    Seattle, Washington 98101-3034                      Via ECF Notification
      mellem@ryanlaw.com
17    doupe@ryanlaw.com
18           and
      Sean T. Prosser, admitted pro hac vice       Via Messenger
19    Mintz, Levin, Cohn, Ferris, Glovsky & Popeo  Via Facsimile
20    3580 Carmel Mountain Road, Suite 300         Via U.S. Mail
      San Diego, CA 92130                          Via Electronic Mail (per agreement)
21    STProsser@mintz.com                          Via ECF Notification

22    Attorneys for Defendants Quartzburg Gold,
      LP, ISR Capital LLC and Idaho State
23    Regional Center, LLC

24
     DATED this 22nd day of June, 2020.
25
                                                  /s/ Molly Price
26                                                Molly Price, Legal Assistant

27

      STIPULATION AND ORDER RE:                                     DORSEY & WHITNEY LLP
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